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 AO 247 (02/08) Order Regarding Motion for Saitence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Middle District of Alabama

                   United States of America                          )
                              v.                                     )
                    Dwayne Lamar Hawkins                             ) Case No: 2:98CR130-ID-02
                                                                     ) USM No: 10303-002
Date of Previous Judgment: 4/15/1999                                 ) Pro Se
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of X the defendant 0 the Director of the Bureau of Prisons 0 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       O DENIED. X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 210         months is reduced to 168
I. COURT DETERMINATION OF GUiDELiNE RANGE (Prior to Any Departures)
Previous Offense Level:    35                Amended Offense Level:     33
Criminal History Category: Ill               Criminal History Category: Ill
Previous Guideline Range: 210  to 262 months Amended Guideline Range: 168                                              to 210 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
tJ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
0 Other (explain):




ifi. ADDiTIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 4/15/1999                  shall remain in effect.
IT IS SO ORDERED.

Order Date:        June H -_2009
                                                                                                Judge's signature

Effective Date: June 22, 2009                                               Ira DeMent, Senior United States District Judge
                    (if different from order date)                                            Printed name and title
